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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 3.2.1
                               Eastern Division

Terry Martin
                          Plaintiff,
v.                                                Case No.: 1:07−cv−04991
                                                  Honorable Ronald A. Guzman
J Quinn, et al.
                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 6, 2008:


       MINUTE entry before the Honorable Ronald A. Guzman: All matters in
controversy having been settled, the above−entitled case is hereby dismissed with
prejudice. Any pending motions or schedules are stricken as moot. Civil case terminated.
Mailed notice(cjg, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

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